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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:07-cr-00014-MP-AK

CHRISTOPHER THOMAS QUINN,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 202, Motion to Continue Sentencing

(Unopposed) by Christopher Thomas Quinn. The motion is granted, and the sentencing is

hereby reset for April 30, 2008 at 11:00 a.m.



       DONE AND ORDERED this 31st day of January, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
